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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                             CV 20-74-BLG-SPW
                      Plaintiff,
             vs.

                                             ORDER APPROVING FINAL
 LARRY WAYNE PRICE,JR.,                      ACCOUNTING OF
                                             RECEIVERSHIP,TERMINATING
                      Defendant.             RECEIVERSHIP,AND ORDER TO
                                             DISBURSE FUNDS TO
 THREE BLIND MICE,                           RESTITUTION


               Intervenor/Defendant.



      Upon the United States' Unopposed Motion to Approve Final Accounting of

Receivership, Terminate Receivership, and Disburse Funds to Restitution, a review

of the pleadings and orders filed previously herein, and good cause appearing

therefore,

      IT IS ORDERED that:


      1. That the United States' Unopposed Motion to Approve Final Accounting

of Receivership, Terminate Receivership, and Disburse Funds to Restitution and

the Declaration ofIRS Special Agent Mary Lou Prillaman and the Exhibits thereto

are hereby approved as a final accounting ofthe receivership and receiver Mary

Lou Prillaman is hereby released from her duties as receiver;
                                         1
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